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                                                                 September 12, 2018

    Honorable Vera M. Scanlon
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

               Re:   Amadei, et. al., v. Nielsen, et al., No. 17 Civ. 5967

    Dear Judge Scanlon:

          We represent Plaintiffs in the above-referenced matter and write in response to
    the Court’s Order of August 15, 2018 (ECF No. 48), which directed the parties to confer
    and submit a letter outlining the schedule for depositions.1

           The parties conferred by telephone on Tuesday, September 11 and can report
    both agreement and disagreement on depositions. The parties agree as to a tentative
    schedule for the nine depositions listed below, are negotiating the scope, dates, and/or
    locations for another nine depositions, and reserve the right to notice further
    depositions.

                                      Confirmed Depositions

        Date            Location           Name                Position / Role Noticing Party

        9/20/2018       Manhattan          Dennis Starr        ICE Officer          Plaintiffs

        9/27/2018       Manhattan          Everlyn             ICE Officer          Plaintiffs
                                           Pradoguevara

        10/2/2018       Manhattan          Rey Rivera          CBP Officer          Plaintiffs
                                           Perez


    1 Defendants have indicated they consent to the filing of a letter that includes only the
    first two paragraphs of this letter and the “Confirmed Depositions” chart. Defendants
    decline to submit this letter as a "joint letter" because they assert that it is improper for
    the parties to state their positions as to why they have not yet agreed to a complete
    deposition schedule.
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        10/4/2018     Brooklyn            Kelley Amadei       Plaintiff            Defendants

        10/22/2018    San Francisco       James Bonasoro      Flight Attendant,    Plaintiffs
                                                              Delta Air Lines

        10/23/2018    San Francisco       Bryan Hoffman       Flight Attendant,    Plaintiffs
                                                              Delta Air Lines

        10/25/2018    San Francisco       Martha Shaffer      Flight Attendant,    Plaintiffs
                                                              Delta Air Lines

        10/26/2018    San Francisco       Aimee Walsh         Flight Attendant,    Plaintiffs
                                                              Delta Air Lines

        12/4/2018     Brooklyn            Carola Cassaro      Plaintiff            Defendants



            Plaintiffs’ Positions Regarding Open Deposition Issues2

          Three issues prevent the parties from finalizing eight of the nine additional
    depositions mentioned above, including Defendant U.S. Customs and Border Protection
    (“CBP”)’s 30(b)(6) deposition, the depositions of six plaintiffs who reside outside of the
    New York area, and the deposition of Christian Schultz, a former CBP officer who
    conducted some of the identification checks here at issue.

           First, CBP refuses to appear for its Rule 30(b)(6) deposition duly noticed for this
    Monday, September 17. Plaintiffs noticed the CBP deposition on August 15, listing 14
    topics for examination. Defendants were silent for more than three weeks. On
    September 10—one week before the noticed deposition—Plaintiffs received boilerplate
    objections to the noticed topics.

           In response to Plaintiffs’ inquiries during the September 11 meet-and-confer,
    Defendants disclosed for the first time that CBP would not produce a witness for the
    noticed examination on September 17, nor would they designate a CBP deponent or


    2 Shortly before the close of business, Defendants objected to the inclusion of Plaintiffs’
    positions as described in this section, citing the parties’ ongoing negotiations. Plaintiffs
    indicated by reply email that it is necessary to explain to the Court the reasons that the
    parties are presently unable to agree to a full deposition schedule. Plaintiffs afforded
    Defendants an opportunity to provide a statement of their positions in response as part
    of the letter and they declined to do so.
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    deponents before resolution of their objections. Instead, Defendants demanded that
    Plaintiffs adjourn the examination to negotiate regarding Defendants’ objections.

           CBP’s conduct is unacceptable. CBP’s failure to comply with the 30(b)(6)
    deposition notice is its latest instance of discovery abuse. Its service of written
    objections barely a week before the deposition has no effect as a matter of law and
    frustrates an already-delayed discovery process.

           Nevertheless, because Plaintiffs wish to avoid successive requests for court
    intervention, and in light of the recently extended discovery deadline, Plaintiffs have
    proposed a structured negotiation process whereby the parties will resolve Defendants’
    objections to the 30(b)(6) notice or Defendants will move for a protective order.

           The parties have agreed to the following schedule for those negotiations:

              •   By Wednesday September 19, Defendants will email a letter to Plaintiffs
                  detailing the portions of each 30(b)(6) topic to which they object and the
                  reasons for those objections.

              •   By Wednesday September 26, Plaintiffs will email a letter to Defendants
                  responding to any objections in the September 19 letter.

              •   By Friday, September 28, the parties will confer by telephone concerning
                  any topics that remain in dispute following the exchange of letters.

              •   By Friday, October 12: CBP will either designate witness(es) or move for a
                  protective order according to the Court’s individual practices.

            Second, Defendants have indicated that they may refuse to permit the six
    plaintiffs who reside outside New York to be deposed in their home areas or remotely by
    telephone or video. Plaintiffs hope that Defendants will reconsider their position in
    light of the strong policy in this District favoring remote depositions, the burdens placed
    on Plaintiffs, all of whom are private citizens who simply had the misfortune to travel on
    Delta 1583, and the minimal risk of prejudice to the government. Plaintiffs will move
    for a protective order if the parties cannot agree as to a location and method of
    examination.

           Third, despite Defendants’ reluctance to depose Plaintiffs in their home areas or
    remotely, they have insisted that Plaintiffs take the deposition of one of their party
    witnesses in Georgia. In particular, Defendants have indicated that CBP Officer
    Christian Schulz—one of two officers originally named as John Doe defendants in this
    action—has left CBP and is now employed by Defendant U.S. Immigration and Customs
    Enforcement (“ICE”) in Georgia. It bears mention that Defendants’ position is
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    inconsistent with those they have taken not just with respect to the depositions of the
    named Plaintiffs but also in meet-and-confers during which they represented that
    Plaintiffs need not amend their complaint to name Mr. Schultz because doing so would
    have no effect on Plaintiffs’ claims. Plaintiffs do not object to taking Mr. Schultz’s
    deposition in his home area or remotely provided that the Plaintiffs are afforded the
    same courtesy.

                                          *      *      *

          Plaintiffs thank the Court for its attention to this matter.

                                                     Respectfully submitted,
                                                     s/ Joshua B. Picker
                                                     Joshua B. Picker


    cc:   All counsel (by ECF)
